                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )       Case No. 12-00072-14-CR-W-BCW
                                            )
JESUS F. ALMEIDA-OLIVAS,                    )
                                            )
                      Defendant.            )


                                            ORDER

       This matter is currently before the Court on defendant Jesus Almeida-Olivas’ Motion to

Sever (doc #685). For the reasons set forth below, this motion is denied.

                                     I. INTRODUCTION

       On March 13, 2012, the Grand Jury returned a twenty-seven count indictment against

defendants Porfirio Almeida-Perez, Sergio Almeida-Alvarez, Guillermo Ortiz-Iribe, Jesus

Monjardin-Araujo, Eric S. Medina-Medina, Guadalupe Lara-Armenta, Isidro Marrufo, Abel A.

Martinez, Norberto A. Dangla-Sanchez, Kevin D. Blum, Guadalupe Perez-Perez, Ignacio

Salcedo-Baez, Martin Tavizon-Nunez, Jesus F. Almeida-Olivas, Fredy Almeida-Velazquez,

Arturo Aviles-Perez, Cosme Ortiz-Miranda, Sergio Campos-Medina, Carlos Renteria, Ramon A.

Angulo-Sandoval, Jose A. Castro-Rojo, Ernesto Sandoval, Jose Isidro Marrufo-Rutiaga, Enrique

Lara, Esteban Acosta-Perez, Bruno Tavizon-Nunez, Isabel Gonzalez-Mendoza, Angel De La

Rosa-Garcia, Guzman Perez-Hernandez, Gerardo Flores-Magallon and Jose Guadalupe

Delgado-Delval.    Defendant Jesus F. Almeida-Olivas is charged only in Count One of the

indictment. Count One provides:




      Case 4:12-cr-00072-BCW          Document 688        Filed 09/08/14    Page 1 of 6
               Between on or about January 1, 2007, and the date of this Indictment, said
       dates being approximate, in the Western District of Missouri and elsewhere, [all
       of the above-listed defendants, except Guzman Perez-Hernandez],1 did knowingly
       and intentionally combine, conspire, confederate, and agree with each other and
       others both known and unknown to the Grand Jury to: (1) distribute a mixture or
       substance containing a detectable amount of methamphetamine, a Schedule II
       controlled substance, in an amount of five hundred grams or more; (2) distribute a
       mixture or substance containing a detectable amount of cocaine, a Schedule II
       controlled substance, in an amount of five hundred grams or more; and (3)
       distribute a mixture or substance containing a detectable amount of marijuana, a
       Schedule I controlled substance, in an amount of fifty (50) kilograms or more,
       contrary to the provisions of Title 21, United States Code, Sections 841(a)(1),
       (b)(1)(A), (b)(1)(B) and (b)(1)(D).

               All in violation of Title 21, United States Code, Section 846.

(Doc #20 at 7) The only additional counts in which those six defendants currently set for trial are

charged are Counts Fifteen and Twenty-One. Count Fifteen charges that on September 21, 2011,

defendant Jesus Monjardin-Araujo used a telephone to facilitate the distribution of

methamphetamine. Count Twenty-One charges that on January 22, 2012, defendant Sergio

Campos-Medina used a telephone to facilitate the distribution of methamphetamine.

                                         II. DISCUSSION

       A.      Defendant Almeida-Olivas Is Properly Joined In This Action

       Rule 8(b), Federal Rules of Criminal Procedure, establishes the requirements for joinder of

defendants. Defendants are permitted to be joined where “they are alleged to have participated in

the same act or transaction, or in the same series of acts or transactions, constituting an offense or

offenses.” There is a preference in the federal system for joint trials of defendants who are


1
 Defendants Ortiz-Iribe, Medina-Medina, Salcedo-Baez, Almeida-Velazquez, Aviles-Perez,
Angulo-Sandoval, Castro-Rojo, Sandoval, Acosta-Perez and Bruno Tavizon-Nunez have
outstanding arrest warrants. Defendants Almeida-Perez, Lara-Armenta, Marrufo, Martinez,
Dangla-Sanchez, Blum, Perez-Perez, Martin Tavizon-Nunez, Ortiz-Miranda, Renteria,
Marrufo-Rutiaga, Gonzalez-Mendoza, De La Rosa-Garcia, Perez-Hernandez, Flores-Magallon
and Delgado-Delval have entered guilty pleas.

                                                  2



       Case 4:12-cr-00072-BCW           Document 688         Filed 09/08/14      Page 2 of 6
indicted together. See Zafiro v. United States, 506 U.S. 534, 537 (1993).        This is increasingly

so when it is charged that defendants have engaged in a conspiracy. See United States v. Pou, 953

F.2d 363, 368 (8th Cir.), cert. denied, 504 U.S. 926 (1992).

       The question of whether joinder is proper is to be determined from the face of the

indictment. See United States v. Wadena, 152 F.3d 831, 848 (8th Cir. 1998), cert. denied, 526

U.S. 1050 (1999). See also United States v. Willis, 940 F.2d 1136, 1138 (8th Cir. 1991), cert.

denied, 507 U.S. 971 (1993)(“the indictment on its face revealed a proper basis for joinder”);

United States v. Jones, 880 F.2d 55, 62 (8th Cir. 1989)(“the superseding indictment reveals on its

face a proper basis for joinder”).

       Given the factual allegations in the indictment, it is clear that the charge in Count One (that

between January 1, 2007, and March 13, 2012, defendant Almeida-Olivas, along with his

co-defendants Porfirio Almeida-Perez, Sergio Almeida-Alvarez, Guillermo Ortiz-Iribe, Jesus

Monjardin-Araujo, Eric S. Medina-Medina, Guadalupe Lara-Armenta, Isidro Marrufo, Abel A.

Martinez, Norberto A. Dangla-Sanchez, Kevin D. Blum, Guadalupe Perez-Perez, Ignacio

Salcedo-Baez, Martin Tavizon-Nunez, Fredy Almeida-Velazquez, Arturo Aviles-Perez, Cosme

Ortiz-Miranda, Sergio Campos-Medina, Carlos Renteria, Ramon A. Angulo-Sandoval, Jose A.

Castro-Rojo, Ernesto Sandoval, Jose Isidro Marrufo-Rutiaga, Enrique Lara, Esteban

Acosta-Perez, Bruno Tavizon-Nunez, Isabel Gonzalez-Mendoza, Angel De La Rosa-Garcia,

Gerardo Flores-Magallon and Jose Guadalupe Delgado-Delval and others, conspired to distribute

methamphetamine, cocaine and marijuana) satisfies the requirement that defendants are alleged to

have participated in the same act or in the same series of acts constituting an offense. There is no

misjoinder in this case.



                                                 3



       Case 4:12-cr-00072-BCW           Document 688           Filed 09/08/14    Page 3 of 6
       B.      Defendant Almeida-Olivas Is Not Prejudiced By The Joinder

       “‘When defendants are properly joined, there is a strong presumption for their joint trial, as

it gives the jury the best perspective on all of the evidence and therefore increases the likelihood of

a correct outcome.’” United States v. Casteel, 663 F.3d 1013, 1018 (8th Cir. 2011)(quoting

United States v. Lewis, 557 F.3d 601, 609 (8th Cir. 2009)). However, Rule 14, Federal Rules of

Criminal Procedure, permits severance where joinder would result in unfair prejudice to a

defendant. The decision to sever lies in the trial court’s discretion. See United States v. Davis,

882 F.2d 1334, 1340 (8th Cir. 1989), cert. denied, 494 U.S. 1027 (1990).

       Defendant Almeida-Olivas argues that he would be prejudiced by a joint trial for the

following reasons:

               4.     Mr. Almeida-Olivas is concerned that the jury will not be able to
       compartmentalize the evidence as it relates to separate defendants and the evidence
       of his involvement in the conspiracy appears to be limited to telephone calls in late
       September, October, and early November of 2011, a span of only about 2 months.

              5.      Mr. Almeida-Olivas is concerned that the jury may use the
       accumulation of other evidence or infer guilt on his part when it would not have
       done so if he had a separate trial limited only to the evidence against him. … Mr.
       Almeida-Olivas does not want to be convicted based upon guilt by association.

(Motion to Sever (doc #685) at 2)

       Defendant Almeida-Olivas appears to argue that his involvement in the conspiracy is

limited and, therefore, the weight of the evidence to be introduced at a joint trial will be

inapplicable to the charges against him and, thus, will cause him prejudice.              Apparently,

defendant believes that the bulk of the evidence presented at a joint trial would be inadmissible

against him if he were tried alone. A similar argument was made and rejected in United States

v. Ramsey, 510 Fed. Appx. 731 (10th Cir. Feb. 11, 2013), cert. denied, 134 S.Ct. 714 (2013),

where the court found:

                                                  4



       Case 4:12-cr-00072-BCW            Document 688        Filed 09/08/14       Page 4 of 6
              … Ramsey’s argument fails because he has not shown the evidence would
       be inadmissible to prove the conspiracy charge against him if he had been tried
       alone.

               Overt acts taken in furtherance of a conspiracy are admissible against all
       coconspirators as evidence of the conspiracy. See United States v. Scott, 37
       F.3d 1564, 1581 (10th Cir. 1994). … Further, even if the sales were made before
       Ramsey joined the conspiracy, “a defendant who joins an ongoing conspiracy
       may be held accountable—for purposes of determining the scope of liability for
       the conspiracy charge itself—with the acts or statements of coconspirators that
       occurred prior to his entry into the conspiracy, if those acts or statements were in
       furtherance of the conspiracy. United States v. Hamilton, 587 F.3d 1199, 1207
       (10th Cir. 2009).

510 Fed. Appx. at 734-35. Accord Rincon v. Burge, 2010 WL 6789121, *18 (S.D.N.Y. Sep. 8,

2010)(“although some of the evidence concerned crimes in which not all of the defendants were

directly involved, that evidence was admissible against all of them as alleged coconspirators, since

the conduct in question involved overt acts in furtherance of the conspiracy”).

       To the extent that evidence would be admissible in a joint trial that would otherwise not

be admissible if defendant Almeida-Olivas were tried alone, the law is clear that a defendant is

not entitled to severance simply because the evidence against a co-defendant is more weighty

than the evidence against him or because evidence admissible against a co-defendant may make

his case more difficult to defend.   In United States v. Willis, 940 F.2d 1136 (8th Cir. 1991), cert.

denied, 507 U.S. 971 (1993), the court found:

       There can be little doubt that the joint trial made it more difficult for Willis [a
       minor participant charged in only two of thirty-two counts] to defend himself.
       The evidence clearly revealed that Duke was a major drug dealer with a
       “far-flung” operation. But difficulty alone is not a reason to reject joinder. A
       showing of clear prejudice must be made.

Id. at 1139.   See also United States v. Pecina, 956 F.2d 186, 188 (8th Cir. 1992); United States

v. Davis, 882 F.2d 1334, 1340 (8th Cir. 1989), cert. denied, 494 U.S. 1027 (1990).



                                                 5



      Case 4:12-cr-00072-BCW            Document 688        Filed 09/08/14        Page 5 of 6
        Prejudice may occur if the jury is unable to compartmentalize the evidence against each

defendant.    See Willis, 940 F.2d at 1138. However, this potential problem can normally be

resolved through applicable jury instructions.    See Pecina, 956 F.2d at 188 (“Disparity in the

weight of the evidence as between ... parties does not entitle one to severance ... In addition, the

district court gave precautionary instructions advising the jury of the proper use of evidence as

related to each defendant and each charge”); United States v. McConnell, 903 F.2d 566, 571 (8th

Cir. 1990), cert. denied, 498 U.S. 1106 (1991)(“the roles of the individual [defendants] were

sufficiently distinct that the jury, aided by the court’s instructions, could compartmentalize the

evidence against each defendant”); United States v. Jones, 880 F.2d 55, 63 (8th Cir. 1989);

United States v. Jackson, 549 F.2d 517, 526 (8th Cir.), cert. denied, 430 U.S. 985 (1977).

        There is no reason to question that any possible prejudice to defendant Almeida-Olivas

resulting from evidence presented against his co-defendants cannot be resolved through

precautionary jury instructions. There is no prejudice in this case that would require severance in

order to ensure a fair trial.

                                       III. CONCLUSION

        The Court must balance the burden and cost of separate trials against the possible prejudice

to defendants. In this case, the burden and costs of separate trials outweigh any possible prejudice

asserted by defendant Almeida-Olivas. Therefore, it is

        ORDERED that defendant Almeida-Olivas’ Motion to Sever (doc #685) is denied.



                                                            /s/ Sarah W. Hays
                                                           SARAH W. HAYS
                                                  UNITED STATES MAGISTRATE JUDGE



                                                 6



       Case 4:12-cr-00072-BCW           Document 688        Filed 09/08/14      Page 6 of 6
